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VALLEY FILL
BELOW
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oor OOD

SO VALLEY FILL .

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TABLE NUMBER T WO fe)

BAR GRAPH SHOWING SPECIFIC YIELD of MATERIALS in WELLS in O'NEILL, CHAPPO & YSIDORA(sus) BASINS

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7

YSIBORA

A

2

Wells so marked have penetrated bedrock.

Wells not marked did not penetrate bedrock.

WA UKANNNPNNMNH HNN Dmwpwp ww —-——
Aonaauywnoppa A APA A BU Ga w Pf Gi
AX-eDQDOrZtZrTrTEHon0Orecene DOOVUD
Nm HN eH KAR OK Sm NO ee

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161

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Yields

Key to Specific

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69CE
BIE
LOZE
9ICCE

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O'NEILL

CIS SE

lIOZe +/6

uo - MARCH

a

Katerial

Gravel, including gravel and sand...

Sand, including sani ard sore gravel. .

Sand and silt, including tight sand,

and fine sand...

Sand and clay, ineinuding gravel and clay.

Clay, including silt, silty clay, ard
clayey silt.

952
PREPARED BY:

Specific yield
(percent)

25
0

eevee

J.F Clement

sip tannin a

